               Case 17-50126            Doc 25        Filed 12/06/17         EOD 12/07/17 00:34:54                Pg 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Indiana
Greenfield Banking Co.,
         Plaintiff                                                                                Adv. Proc. No. 17-50126-JMC
O’Reilly,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0756-1                  User: kchandler                    Page 1 of 1                          Date Rcvd: Dec 04, 2017
                                      Form ID: pdfOrder                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 06, 2017.
dft            +Michelle Dawn O’Reilly,   18772 Northridge Drive,   Noblesville, IN 46060-1574

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 06, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 4, 2017 at the address(es) listed below:
              Bruce E McLane   on behalf of Plaintiff   Greenfield Banking Co. mclanelaw@aol.com
              U.S. Trustee   ustpregion10.in.ecf@usdoj.gov
                                                                                            TOTAL: 2
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                   SO ORDERED: December 4, 2017.




                   ______________________________
                   James M. Carr
                   United States Bankruptcy Judge
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